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 9
                                 UNITED STATES DISTRICT COURT
10
                                        DISTRICT OF NEVADA
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12    DAKOTA DEMPSEY,
13                      Plaintiff,                    Case No. 3:21-CV-00212-LRH-CSD
14           v.                                             ORDER OF DISMISSAL WITH
                                                            PREJUDICE
15    MIDLAND CREDIT MANAGEMENT, INC.
      A/K/A MIDLAND CREDIT
16    MANAGEMENT A/K/A MCM,
17                      Defendant.
18

19
            IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff DAKOTA
20
     DEMPSEY (“Plaintiff”), and Defendant MIDLAND CREDIT MANAGEMENT, INC. (“MCM”),
21
     through their respective counsel of record and pursuant to Federal Rule of Civil Procedure
22

23   //

24   //
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     //
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     Case 3:21-cv-00212-LRH-CSD Document 14 Filed 07/08/22 Page 2 of 2



 1   41(a)(1)(A)(ii), this case is dismissed with prejudice, each party to bear their own attorney fees and
 2   costs.
 3
      Dated this 7th day of July 2022.
 4

 5    LAW OFFICES OF NICHOLAS M. WAJDA                      NAYLOR & BRASTER
 6

 7     By: /s/ Nicholas M. Wajda                            By: /s/ John M. Naylor
 8        Nicholas M Wajda                                     John M. Naylor
          Nevada Bar No. 11480                                 Nevada Bar No. 5435
 9        871 Coronado Center Dr., Ste. 200                    Benjamin B. Gordon
          Henderson, NV 89052                                  Nevada Bar No. 15552
10                                                             1050 Indigo Drive, Suite 200
      Attorneys for Plaintiff Dakota Dempsey                   Las Vegas, NV 89145
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12                                                         Attorneys for Defendant Midland Credit
                                                           Management, Inc.
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              IT IS SO ORDERED.
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     Dated: July 8, 2022.
18                                                 LARRY R. HICKS
                                                   UNITED STATES DISTRICT COURT JUDGE
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